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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

In Re:                                              )
                                                    )       Case No. 15-34234
Anthony D. Sarlo,                                   )
                                Debtor.             )       Chapter 13
                                                    )
                                                    )
CITY OF CHICAGO, a Municipal Corporation,           )
                                                    )
                                Plaintiff,          )
                                                    )
v.                                                  )       Adversary Case No. 16-00030
                                                    )
ANTHONY D. SARLO,                                   )
                                                    )
                                Defendant.          )       Judge Timothy A. Barnes

                                      NOTICE OF MOTION

To:      Julia Jensen Smolka                        Patrick S. Layng
         DiMonte & Lizak, LLC                       Office of the U.S. Trustee, Region 11
         216 West Higgins Road                      219 S. Dearborn St., Room 873
         Park Ridge, Illinois 60068                 Chicago, IL 60604

         Marilyn O. Marshall
         224 South Michigan, Ste. 800
         Chicago, IL 60604

       Please take notice that on June 2, 2016, at 10:00 a.m. or as soon thereafter as counsel may
be heard, we will appear before Judge Barnes in Courtroom 744 of the Dirksen Federal
Courthouse, 219 S. Dearborn St., Chicago, Illinois, and present the attached Motion for
Summary Judgment.

Stephen R. Patton                                   Respectfully submitted,
Corporation Counsel
Susan Song                                          THE CITY OF CHICAGO
Chief Corporation Counsel
Marianna Kiselev (ARDC # 6303720)                   Stephen R. Patton
Assistant Corporation Counsel                       Corporation Counsel
Chicago Department of Law
121 N. LaSalle St., Suite 400                       By:     /s/ Marianna Kiselev
Chicago, IL 60602                                           Assistant Corporation Counsel
(312) 742-0139
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                               CERTIFICATE OF SERVICE

       I, Marianna Kiselev, an attorney, certify that I caused this notice and the document
referenced herein to be served on the parties to whom it is directed through the ECF system
and/or via first class U.S. Mail on May 31, 2016.

                                                            /s/ Marianna Kiselev
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In Re:                                                 )
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Anthony D. Sarlo,                                      )
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CITY OF CHICAGO, a Municipal Corporation,              )
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                                Plaintiff,             )
                                                       )
v.                                                     )      Adversary Case No. 16-00030
                                                       )
ANTHONY D. SARLO,                                      )
                                                       )
                                Defendant.             )      Judge Timothy A. Barnes

           THE CITY OF CHICAGO’S MOTION FOR SUMMARY JUDGMENT

         Plaintiff, the City of Chicago (“City”), by and through its attorney, Stephen R. Patton,

Corporation Counsel of the City, pursuant to Fed. R. Bankr. P. 7056, moves for entry of

summary judgment finding debtor/defendant Anthony D. Sarlo’s debt owed to the City non-

dischargeable pursuant to 11 U.S.C. § 523(a)(2)(A). The City’s motion is based on the facts set

forth in the City’s Local Rule 7056-1 Statement of Material Facts and for the reasons set forth in

the City’s Memorandum in Support of its Motion for Summary Judgment, which are filed

contemporaneously with this motion.

Stephen R. Patton                                      Respectfully submitted,
Corporation Counsel
Susan Song                                             THE CITY OF CHICAGO
Chief Corporation Counsel
Marianna Kiselev (ARDC # 6303720)                      Stephen R. Patton
Assistant Corporation Counsel                          Corporation Counsel
Chicago Department of Law
121 N. LaSalle St., Suite 400                          By:    /s/ Marianna Kiselev
Chicago, IL 60602                                             Assistant Corporation Counsel
(312) 742-0139
